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     New York State Attorney General, 2013; Ridgeway, 2007; Spitzer, 1999). Largely, this body of
     research has focused on the race of those stopped or on geographical units of analysis such as cen-
     sus tracts or precincts. The interaction between the race of the offender and racial composition of
     the neighborhood where the stop takes place has been noted but remains largely understudied.
        This study adds to the stop and frisk literature through the first known application of minority
     threat hypothesis with police actions during stops and frisks. More precisely, an NYC specific
     Black threat theory is built to guide the analysis. Next, the GIS process utilized to integrate census,
     stop and frisk, and other data into the creation of 297 distinct NYC neighborhoods, a feature that
     further distinguishes this study from the previous literature, is discussed. A comprehensive
     descriptive approach is then undertaken to create benchmarks of police action to inform of relative
     differences for each category of offender race and neighborhood race structure, focusing specif-
     ically on the stops of Blacks in White-dominated neighborhoods. The Black threat framework for
     four police actions (frisks, sanctions, searches, and use of force) during stops is evaluated through
     logistic regression modeling. The study concludes with a discussion of Black threat, defended
     neighborhoods, criminogenic explanations, and the out of place hypothesis, adding to our growing
     sociological understanding of the racial aspects of stops and frisks in the nation’s largest city.



     Literature Review of the Racial/Ethnic Aspects of NYPD Stop
     and Frisk Policy
     Most research into NYPD stop and frisk policies focuses on the racial disparities in aggregate
     stops and frisks relative to residential population representation at varying units of analysis. This
     perspective endures and persists due to the historically poor relationship between the NYPD and
     NYC’s communities of color (see Lardner & Reppetto, 2000; Solis, Portillos, & Brunson, 2009) in
     conjunction with more recent crime control efforts focused on high minority neighborhoods (Bass,
     2001). The first major report quantifying this racial disparity analyzed 175,000 stops between
     January 1998 and March 1999. Blacks and Hispanics comprised 49.3% of the population at that
     time yet accounted for 83.6% of stops; by contrast, Whites comprised 43.4% of the population but
     only 12.9% of stops (Spitzer, 1999). While stops of minorities were most abundant in high minority
     precincts, a disparate number of minority stops were observed in largely White precincts (defined as
     greater than 50% White population). The report further determined that variability in precinct-level
     crime rates alone did not account for the racial disparities in these stops (Spitzer, 1999).
         A subsequent report focused on fully investigated citizen complaints resulting from a police stop
     and/or frisk, finding that 51% of fully investigated complaints from January 1997 through March
     1999 were filed by Black subjects while 24% were Latino and 11% were White (Civilian Complaint
     Review Board, 2001). Of these complaints, physical force was alleged in 76% of stops involving
     Latinos and 74% of stops involving Blacks compared to 48% of stops involving White suspects.
     Moreover, a significantly higher percentage of Blacks were stopped by an officer brandishing a fire-
     arm (29%) than Hispanic (13%) or White suspects (6%). Thus, racial disparities are important in the
     context of police actions during a stop, not only the initial stop decision.
         Gelman, Fagan, and Kiss (2007) also examined whether race-specific stop rates were a function
     of race-specific arrest rates or precinct-level variability. The results confirmed the assertion in the
     Spitzer (1999) report that significant racial disparity in stops were not explained by precinct-level
     crime or prior year race-specific arrest rate variability. The authors concluded that less rigorous con-
     stitutional standards were applied to stops of minorities, making these stops less efficient than those
     of Whites do. Most pertinent to this study is the finding of ‘‘racially incongruent stops’’ or stops of
     minorities in predominantly White precincts or Whites in predominantly minority precincts, each of
     which is a sign of ‘‘race-based selection of citizens for crime interdiction.’’ Thus, including the stop
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     location is crucial to understanding the full racial context of stop and frisk of both White and
     non-White subjects.
         New York’s Attorney General recently analyzed stop and frisk arrests between 2009 and 2012
     through disposition and sentencing (Office of the New York State Attorney General, 2013). The
     report found that just half of the 6% of stops that result in arrest led to a conviction, and the racial
     disparities of NYPD stop and frisk policy continue through the court process. The most pronounced
     finding was for marijuana possession arrests in which Whites were 50% more likely to receive
     adjournments in contemplation of dismissal1 than Black or Hispanic defendants. Other research
     finds the NYPD’s application of quality-of-life crime enforcement focuses mainly on marijuana pos-
     session, falling heavily on minorities as Blacks and Hispanics were more likely to be detained than
     Whites (2.7 times and 1.8 times more likely, respectively) and face harsher criminal sanctions
     accounting for other factors (Johnson, Golub, Dunlap, & Sifaneck, 2008). These findings culminated
     in a recent court decision in Floyd v. New York (2013), in which the stop and frisk practices of the
     NYPD were ruled racially discriminatory based on the following four key points (1) even with other
     factors held constant the NYPD stops more Blacks and Hispanics than Whites, (2) these stops are
     more likely within certain precincts and census tracts, controlling for other factors, (3) more force
     is used against Blacks and Hispanics than Whites, controlling for other factors, and (4) the stops of
     Blacks and Hispanics are often undertaken with less justification than stops of Whites (p. 183).
         There is some evidence that NYPD stop and frisk racial disparities are not as pronounced as the
     previously literature suggests. Ridgeway (2007) analyzed over 500,000 stops from 2006 and
     focused on three separate areas: external benchmarks, internal benchmarks, and outcomes. The
     three external benchmarks were crime description percentages (comparing suspect descriptions
     with stopped suspects), arrest percentages (racial distribution of 2006 stops compared to 2005
     arrests) and residential census percentages (residential demographics with those of stopped suspects).
     Residential census benchmarks—the method often used to produce the earlier results of profound
     disparities—produced the widest racial disparities but were considered the least valid method. Arrest
     data yielded less disparity, as Blacks were stopped in 2006 in nearly equal proportion to their 2005
     arrest percentage while Hispanics had a 6% greater 2006 stop than 2005 arrest percentage. When sus-
     pect descriptions are used as the benchmark, the results suggest that Blacks are greatly under-stopped
     by police (i.e., Blacks accounted for 69% of the crime descriptions received by police but comprised
     53% of the stops), while Whites and Hispanics are overstopped using this metric.
         Ridgeway’s internal benchmark process relied on analyzing stops by officers that had conducted at
     least 50 stops (n ¼ 2,756 officers) through matching their stops to other officers in the same locations,
     under the same conditions, to detect racial outliers. These officers represented 7% of the department
     but 54% of stops in 2006, leaving a large amount of stop variability unaccounted for. Just 5 officers
     significantly overstopped Blacks, 10 overstopped Hispanics, and 9 understopped non-Whites. In terms
     of outcomes, Ridgeway studied the aggregate difference in post-stop police actions (frisks, searches,
     use of force, and arrests) of similarly situated suspects, finding similar yet narrower racial disparities.
     For example, similarly situated Whites were frisked slightly less than non-Whites (29% to 33%,
     respectively) or Blacks (42% to 46%, respectively). Similarly situated Whites were more likely to pos-
     sess contraband (6.4% compared to 5.7% of Blacks and 5.4% of Hispanics), more likely to be issued
     summons, equally likely to be searched but less likely to have force used upon them or be arrested.
     Though more narrow in scope and depth, the previous findings of racial disparity persisted, a necessary
     condition for the application of the minority threat hypothesis framework.


     Minority Threat Hypothesis, Policing and NYC
     Minority threat hypothesis derives from Hubert Blalock’s Toward a Theory of Minority-Group
     Relations (1967) which focuses almost exclusively on the macro and micro power differential
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     between Whites and Blacks and how that power is enforced, perpetuated, challenged, and/or
     changed. Blalock proffers two branches of the minority threat theory, which is essentially Black
     threat theory from the onset: economic and power theory. Succinctly, the economic branch is
     instrumental and is a means to an end of mobility amid competition, while the power branch
     focuses more on the social aspects of attaining and retaining power as an end in itself. Both spring
     from an inevitable competition that result from a minority population growing, seeking more
     resources and mobilizing to attain those resources and power from the dominant group in society,
     which is the White population in America. In turn, Whites react along a continuum of behaviors to
     maintain their power, fracture mobilization, and consolidate resources. Relative to the power the-
     ory branch, Blalock proposed that minority discrimination would increase with threat-oriented
     beliefs and control mechanisms (#88c, p. 188) that are more likely when a high degree of the
     White population endorses stereotypes stressing threatening minority characteristics (#89a,
     p. 188), resulting in punishment power being applied. Over time, the view of minority criminality
     and its threat has become more institutionalized, widespread, and reinforced through a variety of
     media (see, e.g., Chiricos & Eschholz, 2002; Kooistra, Mahoney, & Westervelt, 1998; B. W.
     Smith & Holmes, 2014), perpetuating the minority threat belief and justifying targeted police
     policies such as stop and frisk designed to control minorities, especially Blacks.
         Minority threat theory has recently emerged in the criminal justice literature as the country heads
     toward having a minority–majority and racial disparities in the system become more exacerbated,
     both at the enforcement and punishment points. As a branch of conflict criminology, the theory helps
     to understand and explain criminal justice institutional responses to crime, mainly through a focus on
     minorities and minority communities, as part of a struggle to retain the status quo of dominant
     groups in society. This perspective views minorities, especially emerging populations in urban
     environments, as a threat to existing White power structures, leading to disparities in policing and
     unequal, inequitable law enforcement (Cureton, 2000; Holmes, 2000; Kent & Jacobs, 2005; King,
     2007; King & Wheelock, 2007; Ruddell & Urbina, 2004; Sampson & Lauritsen, 1997; B. W. Smith
     & Holmes, 2003; Stults & Baumer, 2007; Wang & Mears, 2010). In the policing literature, minority
     threat theory has largely been applied to the allocation of police resources based on Black and/or
     Hispanic populations (see Bernard, Snipes, & Gerould, 2010; Jackson, 1989; Kane, 2003; Kent &
     Jacobs, 2005; Stucky, 2005; Stults & Baumer, 2007), cross-racial arrest differences (Cureton,
     2000; Eitle, D’Alessio, & Stolzenberg, 2002; Parker, Stults, & Rice, 2005; Stolzenberg, D’Alessio,
     & Eitle, 2004), and use of force (Holmes, 2000; B. W. Smith & Holmes, 2014). To date, the theory
     has not been applied to the study of NYPD stop and frisk policy, despite the focus on racial dispa-
     rities in most previous research.
         Police represent the concentration and monopoly of state power (Bittner, 1970) and the profes-
     sion has been White male dominated throughout its history (Sklansky, 2006). Congruent with the
     time period in which Blalock introduced his theory, the White police power structure was challenged
     as the notion of having police forces comprised of similar racial/ethnic proportions, as the commu-
     nities they served began to take hold (Fridell, Lunney, Diamond, & Kubu, 2001; Lasley, 1994;
     Walker & Shelley, 1999). This policy perspective, or goal, coincided with deep mistrust of the police
     and race riots that occurred in many major cities during the same time period (Deslippe, 2004; Perez,
     Berg, & Myers, 2003), conflating the growing divide between White police forces, as agents of state
     power, and increasingly isolated minority communities in many cities that were largely Black. Bass
     (2001) posits that police bias against Blacks is not a by-product of overt individual officer racism,
     but rather the result of institutional bias as policing developed within discriminatory social and polit-
     ical environments that shaped the fundamental fabric of the organizational field, that is, its culture
     and history (see Bittner, 1970; Wilson, 1968 as foundations). While White officers are expected to
     use more force and make more arrests against minorities until White cities or neighborhoods transi-
     tion to a minority tipping point (Deslippe, 2004; B. W. Smith & Holmes, 2014; Stults & Baumer,
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     2007), non-White officers also experience systemic influences that impact their behaviors toward
     minorities. In theory, as departments diversify, newer non-White officers would assimilate to the
     wider institutional system biases shaped by White power structures, and racially disparate police
     actions would persist rather than lessen.
         Some evidence from NYC supports this perspective. The NYPD has become more diverse in
     recent years. In 2010, the NYPD was 53% White and 47% minority but for the first time in its history
     became majority–minority on patrol with 53% of patrolmen minorities and 47% White (El Ghoba-
     shy, 2011). However, the upper levels of the police command structure are still largely White, and
     Whites remain overrepresented on the force relative to the White city population (53% to 33%,
     respectively). Despite increased diversity and the passage of 15 years since the Spitzer (1999) report,
     84.3% of stopped subjects in 2012 were Black or Hispanic with their population percentage increas-
     ing to 50% (they were 83.6% of stops and 49.3% of the population in 1999); Whites comprised 9.4%
     of stops while accounting for 33% of the population (they were 12.9% of stops and 43.4% of the
     population in 1999). Thus, a more diverse police department and city made little impact on stop and
     frisk demographics, consistent with institutional bias being a critical driver of police action that per-
     petuates the general minority and specific Black threat frameworks despite diversification.
         Differential police treatment also impacts how minorities view police compared to Whites.
     Research has established that minorities hold less positive views of the police than Whites (Hurwitz
     & Peffley, 2005; Rice & Piquero, 2005; Solis et al., 2009; Weitzer & Tuch, 2005) and Blacks are less
     likely than Whites to view the criminal justice system as fair (Hurwitz & Peffley, 2005). However,
     research also suggests that Hispanics hold views of police that are less favorable than Whites but
     more favorable than Blacks, making minority views nonmonolithic (Tuch & Weitzer, 1997). Blacks
     in NYC are 3 times more likely than non-Blacks to believe that racially based policing was perva-
     sive, not justified, and experienced more often personally (Rice & Piquero, 2005). Other research
     finds Hispanic youths in NYC believe aggressive police tactics are aimed at restricting their pres-
     ence in public spaces (Solis et al., 2009), bridging the views of the two races relative to police action
     in the city.
         NYC is also highly segregated (Flores & Lobo, 2013). Over the past four decades, Flores and
     Lobo (2013) found that White-dominated neighborhoods (those with more than 70% White popu-
     lation with other groups comprising less than 10% each) declined significantly with the integration
     that followed the decline in the White population including Asians and Hispanics but not Blacks. As
     such, Whites and Blacks are even more isolated in NYC with Whites more integrated with Asians
     and Hispanics and Blacks less integrated with the other groups (Flores & Lobo, 2013). The data cal-
     culated in Table 1 for this study support this view as well as a specific focus on Black threat in NYC.
         A micro-level theory that emerged from the macro minority threat framework in conjunction with
     the tenets of human ecology (invasion, domination, and succession) is the defended neighborhood
     hypothesis, or ‘‘White fight’’ before ‘‘White flight.’’ The minority threat in NYC, especially the
     Black threat, is firmly established. As a result, Whites further isolate themselves from Blacks and
     defend the remaining neighborhoods they dominate, as the overall White population in the city
     dwindles. Rather than resources, they are fighting for space, distance, and to keep power within their
     neighborhood. Recent research has found support for the defended neighborhood hypothesis as a
     greater motivator than economic threat (see Eitle et al., 2002; Green, Strolovitch, & Wong,
     1998). Even if the motivation is more economical than public safety related, King and Wheelock
     (2007) report that Whites hold more punitive views toward Blacks when faced with growing rather
     than static Black populations. These results, when aggregated, suggest that Whites, especially those
     defending their neighborhoods from real or perceived in-migration of non-Whites, are more suppor-
     tive of the police and police action against minorities in general and Blacks specifically.
         The population trends and lack of Black integration with Whites is a critical element of defended
     neighborhood hypothesis in NYC and could theoretically lead to fierce neighborhood defense of
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      Table 1. The Percentage of Popu at on W th n and Between Each Race Group n Each Ne ghborhood Type.

                                    Wh te         Percentage       Percentage        B ack         Percentage      Percentage       H span c        Percentage        Percentage
      Type         Popu at on     Popu at on      Wh te WG         Wh te BG        Popu at on      B ack WG         B ack BG       Popu at on      H span c WG        H span c BG

      DB           1,433,817          98,670          0.04             .07          1,050,727          0.56            0.73           213,234           0.09              0.15
      DH           1,607,813         133,868          0.05             .08            276,891          0.15            0.17         1,014,208           0.44              0.63
      DW           2,678,857       1,858,037          0.68             .69             99,100          0.05            0.04           340,994           0.15              0.13
      NDHW         1,523,579         547,358          0.20             .36            190,014          0.10            0.12           419,625           0.18              0.28
      NDLW           869,118          78,100          0.03             .09            254,488          0.14            0.29           319,012           0.14              0.37

      Note. DB ¼ dominant B ack; DH ¼ dominant Hispanic; DW ¼ dominant White; NDHW ¼ nondominant high White neighborhoods; NDLW ¼ nondominant ow White
      neighborhoods; WG ¼ within-group popu ation distribution for each race by each neighborhood category. For examp e, 68% of the White popu ation in New York City ives in White-
      dominated neighborhoods. BG ¼ between-group popu ation distribution for the tota popu ation of each race that ives within each neighborhood category. For examp e, 69% of the
      popu ation in White-dominated neighborhoods is White.
                                                                                                                                                                                       Case 3:21-cr-00042-JAG Document 72-4 Filed 04/22/22 Page 6 of 21 PageID# 657
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     remaining White-dominated neighborhoods. Skogan (1995) found that Whites living in closer
     proximity to Blacks, especially in urban areas, were more fearful of crime despite registering lower
     prejudice scores than more distant Whites. As Whites are more likely to separate themselves from
     Blacks, this Black isolation may lead to an increase in the fear of Black crime by Whites (Parker
     et al., 2005), thus exacerbating rather than relieving the racial threat. As a result, the most threaten-
     ing person would be Black in a White-dominated or high White population neighborhood as a result
     of either the larger macro minority threat or the more immediate micro-level defended neighborhood
     hypothesis, requiring police actions such as liberal stop and frisk policies toward Blacks in these
     neighborhoods.
        There are two theoretical frameworks that potentially mitigate the minority threat hypothesis
     relative to stop and frisk policy in NYC: the criminogenic perspective and the out of place hypoth-
     esis. Weitzer and Tuch (2005), using a national sample, found that many Whites find face validity
     in police targeting minorities or minority neighborhoods as areas of high crime and criminality.
     Consistent with this finding, Harris (2003) posits that many people support ‘‘racial profiling’’ not
     based on race, but since Blacks and Latinos are more likely to be criminals they should legiti-
     mately receive disproportionate police attention and action. This view, focused mainly on Blacks,
     dates back well over a 100 years (Bass, 2001) and includes law-abiding Black citizens, as Wilson
     (1968, p. 412) noted almost 50 years ago:

        Violent crime and disorder are pre dominantly (though not exclusively) lower class phenomena;
        Negroes are disproportionally (though far from exclusively) lower class; a black skin, therefore, will
        continue to be a statistically defensible (though individually unjust) cue that triggers an officer’s suspi
        cion. Among the consequences of this generalization will be continued police suspicion of blacks and
        continued Negro antagonism toward the police.

     Consistent with the dominant social view of crime and criminality as emanating from minorities,
     former NYPD Commissioner Howard Safir responded to the Spitzer report by claiming that any
     racial disparity in stops and frisks was reflective of the racial makeup of crime offender descriptions
     and arrestees in the city, not racial bias (Cooper, 1999). Complementing this view is data from the
     U.S. Census Bureau (American Community Survey, 2007–2011) which include Riker’s Island, the
     city’s main jail, as a distinct census block group. The Riker’s census block group had the largest
     population of any in the city (10,453) and was 93% non-White (56% Black and 35% Hispanic).
     Comparatively, of the 532,881 stops recorded by the NYPD in 2012, 53% were Black while 31%
     were Hispanic, representing similar proportions to their Riker’s Island population. From this per-
     spective, stop and frisk is not racially biased but based on criminogenic factors that are more greatly
     exhibited by Blacks and Hispanics, potentially negating and/or countering the population-based per-
     spective assuming equal crime propensity and police focus. However, Jones-Brown, Gill, and Trone
     (2010), using data from 2008, found that while minorities are more frequently stopped and frisked,
     Whites are as likely to be arrested (5.5% to 6.1%) and were more likely to have contraband or weap-
     ons except guns. These results suggest the criminogenic argument for overstopping minorities may
     be weaker than believed.
        Finally, the segregated populations of NYC provide for citizens to be ‘‘out of place’’ and thus
     suspicious. As Bass (2001) notes, Blacks have historically been segregated to their neighborhoods
     within cities and policed differently, often ‘‘subject to harassment for having the temerity to circulate
     out of their place.’’ However, more dated research found the opposite: More coercion is used against
     Black suspects in Black neighborhoods (D. A. Smith, 1986) which belies the tenets of the defended
     neighborhood hypothesis. The out of place hypothesis can also be gleaned from Gelman et al. (2007)
     observations of ‘‘racial incongruities’’ in which a certain percentage of minority stops occurred in
     predominantly White districts as well as a number of identifiable stops of Whites occurring in
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     largely Black/Hispanic areas. Thus, one driver of stop and frisk is simply being ‘‘out of place,’’
     regardless of race or criminality.


     Data, Variables, and Methods
     The data derive from several separate sources integrated through ArcGIS software. First, all stop and
     frisk data are taken directly from the NYPD 2012 Stop, Question, and Frisk Database (NYPD, n.d.),
     a publicly available aggregated database of all recorded stop and frisk encounters for the NYPD for
     each calendar year. Each officer who initiates a stop and/or frisk that meets departmental guidelines
     is required to submit a completed UF-250 form that is about four pages in length. The form has
     detailed information about the stop, including, but not limited to, time, date, location (in both street
     and XY coordinates), and reason for stop, whether a frisk or search was conducted, whether force
     was used and what type, the crime suspected, whether a sanction was given, whether the officers
     was in uniform, whether the call was proactive or from a radio run, whether a weapon was recovered
     and what type and characteristics about the offender (race, age, gender, and physical attributes). The
     public version is unfortunately ‘‘scrubbed’’ of officer characteristics such as race.
         Race, social, and economic data were compiled through the American Community Survey
     (2007–2011) population characteristics shapefile that was entered into ArcGIS to create
     neighborhood-level data from census block group centroids. To create neighborhoods, multiple
     shapefiles from the Bytes of the Big Apple (n.d.) website were utilized. The neighborhood cen-
     troid file was used to aggregate census block groups into the 297 distinct neighborhoods identified
     by the city through joining the census block group polygon to the nearest neighborhood centroid.
     To match each stop in the NYPD Stop Question Frisk (SQF) data set with its respective neighbor-
     hood, stops were mapped using their XY coordinates, and this point file was joined by the census
     block group in which it occurred, which was previously joined to the neighborhood file. The
     resulting point file had the neighborhood and census block group identifier added to each stop
     to aggregate stops by the type of neighborhood in which they occurred. Neighborhood data were
     aggregated by census block group when the two files were joined in ArcGIS. Finally, each joined
     file was exported as .txt files and opened in SPSS that was used to conduct the analyses that follow.
         There are four dependent variables in the analysis. Frisks (0 ¼ not frisked, 1 ¼ frisked) and
     searches are measured dichotomously (0 ¼ not searched, 1 ¼ searched). Sanctions are measured
     as to whether a summons was issued or an arrest was made or if no sanction was enforced and is
     measured dichotomously (0 ¼ neither occurred, 1 ¼ one of the two sanctions was applied). The
     UF-250 form lists nine types of force: hands, placing a suspect on the ground, placing a suspect
     against a wall, drawing a weapon, pointing a weapon, using a baton, using handcuffs, using pepper
     spray, and other force. Of the 481,031 final stops from 2012 included in the analysis, 17.5%
     (84,070) involved at least one level of force of which 76.5% (64,353) were hands. When a frisk
     was performed, force was used in 34% of the incidents. In the stop data set, more than one level
     of force was reported in just 2.6% of the stops while 4.4% of the frisk stops resulted in more than
     one level of force being utilized. Based on the fact that so many incidents involved no use of force,
     the force variable was measured dichotomously (0 ¼ no level of force used, 1 ¼ at least one level
     of force used). The search and sanctions models include only stops in which a frisk occurred while
     the frisk and force models use all stops.2
         The independent variable utilized for each model is categorical and created through combining
     a stopped person’s race with the type of neighborhood in which the stop occurred. Race is oper-
     ationalized in a similar fashion as previous NYPD stop and frisk research, despite the limitations
     inherent in this approach. White and Black subjects are identified as such in the NYPD SQF data-
     base. Hispanic subjects are operationalized by combining White Hispanics and Black Hispanics
     into one category. Other races/ethnicities are excluded from the analysis. The analysis employs
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     five categorical neighborhood measures, consistent conceptually with Flores and Lobo (2013)
     while using a different statistical approach. Neighborhoods are operationalized as dominant if
     their White (W), Black (B), or Hispanic (H) population exceeds 58% and neither of the other two
     groups exceeds 30%, making dominance more conservative at a 2:1 ratio where Flores and Lobo
     used a ratio of 7:1 in deciding group dominance at the tract level. These three categories are
     operationalized as DW (dominant White), DB (dominant Black), and DH (dominant Hispanic).
     Non-dominant neighborhoods are operationalized relative to their overall and White populations.
     Nondominant low White neighborhoods (NDLW) are those in which no population dominates
     (<55%), there is not more than a 20% difference between Blacks and Hispanics and Whites com-
     prise less than 20% of the population. Nondominant high White neighborhoods (NDHW) have
     non-White populations of at least 47% and White populations between 21% and 53% of the total
     population. These categories are combined to create nine blended categories to specifically test
     minority threat relative to NYC. The first six categories are race and neighborhood exclusive:
     B/DW, W/DW, H/DW, W/NDHW, B/NDHW, and H/NDHW. The remaining three categories
     combine either race or neighborhood based upon the theoretical framework: W/NDLW, DH,
     DB (all three neighborhood types combined); NW/NDLW (non-White combines Black and
     Hispanics together); and NW/DB, DH.
         There are several control variables utilized to normalize the stop based upon external charac-
     teristics. Ridgeway (2007) used several variables to ‘‘match’’ stops by officers to compare them
     directly against one another, including whether or not the officer was in uniform, the borough
     where the stop occurred, whether the stop was inside or outside, and whether the stop was a result
     of a radio run or initiated by the officer. This approach ‘‘normalized’’ available external factors to
     allow direct comparison of racial differences in stops between officers based on similar situations.
     All of these variables could impact the actions taken by the officer and are controlled for to better
     isolate the offender and neighborhood from other factors.
         The first control variable, whether or not the stop occurred inside or outside (1 ¼ inside, 2 ¼
     outside), is used to control for the physical space an officer has during the stop. Stops in more con-
     fined areas such as hallways of an apartment building may impact officer decision making as
     opposed to a stop in a public park, which may be a less threatening environment. A second control
     variable is whether the officer was in uniform (1 ¼ no, 2 ¼ yes), as many past abuses of stop and
     frisk decisions were made by the Street Crimes Unit, which was plainclothed. Furthermore, these
     two officer types have different missions that could impact their application of stops, frisks, and
     searches and decisions during an encounter and they could be responded to differently by citizens
     as well. For example, subjects may be more likely to run from or resist someone in plainclothes
     than they would an officer in full uniform, a possibility that could change the overall behaviors and
     outcomes of a stop encounter. A third control is whether the call originated from a radio run (1 ¼
     no, 2 ¼ yes) which is a measure of proactivity that could impact officer decision making. A call
     from a radio run implies reaction to an incident or suspect description while a nonradio run stop
     would be more proactive in nature based upon officer observation or intuition. It is conceivable
     that calls from a radio run could result in different behavior on the part of the police (more formal
     justification) than a stop originating from a suspect they see without provocation that may have a
     ‘‘bulge,’’ be wearing clothing that are out of season or exhibit ‘‘furtive movements’’ all of which
     are far more subjective criteria and stop reason choices on the UF-250 form.
         Another situational factor that is controlled for is whether others were present during the stop
     (1 ¼ no, 2 ¼ yes), as this could impact both officer decision making and suspect behavior during
     the stop. A citizen that is alone may be less likely to be frisked for the purposes of officer safety
     than if there are three or more subjects stopped at once, where a frisk could be justified simply for
     officer safety apart from other accepted or stated reasons. A contextual factor controlled for is
     whether or not the stop occurred in a high crime area (1 ¼ no, 2 ¼ yes), as this distinction could
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     also impact the decision making of the officer prior to or during a stop. It would be expected that
     stops in known high crime areas would be more likely to result in a frisk and perhaps more use of
     force by police in that area.
        Organizationally and environmentally, the borough in which the stop occurred (1 ¼ Bronx, 2 ¼
     Brooklyn, 3 ¼ Queens, 4 ¼ Manhattan, and 5 ¼ Staten Island) controls for command and envi-
     ronmental differences during a stop which could also impact officer decision making. Ridgeway
     (2007) did find discrepancies in by borough, further supporting the inclusion of this variable.
     Finally, the age category of the person stopped (1 ¼ lower risk [0–14, 26, or older], 2 ¼ higher
     risk [15–25]) is controlled for, as police officers may approach higher risk-aged offenders
     differently than they would older or younger suspects. Thus, these control variables provide a
     range of environmental, situational, organizational, and offender characteristics to help isolate
     race/neighborhood variables from these factors relative to the four police actions.
        Several descriptive analyses are included to place the race/neighborhood relationship in con-
     text. First, racial disparities across four police actions (frisks, searches, sanctions, and the use
     of force) are explored relative to population proportion. To create these scores, the total number
     of police actions for each group within each neighborhood type is divided by the total number of
     police actions that occurred within that neighborhood type and then divided by the group’s pop-
     ulation proportion within the neighborhood type. This statistic provides a ratio of the police action
     relative to the population of the group within this neighborhood type for all three racial groups. A
     score of 1 indicates that the group faces that event in equal proportion to its population within that
     neighborhood type; a score of less than 1 indicates a group is less likely to face that police action
     relative to its population; and a ratio greater than 1 signifies a specific racial group is more likely to
     face a police action in a proportion greater than its population representation. This statistic repre-
     sents the equity view of racial disparity that many have used in prior NYPD stop and frisk research
     that have found racial disparities.
        Weighted crime propensity for each group is also calculated to compare to both the population
     proportions and logistic regression results. The racial makeup of Rikers Island was used as a proxy
     measure to weight crime propensity between the three groups. As Ridgeway (2007) noted, each
     comparative measure of racial benchmarking (census data, arrestees, or crime suspect descrip-
     tions) has pitfalls relative to the stops and frisks of citizens. The demographic composition of the
     Riker’s Island population extends beyond the arrest rate, which is a largely police-driven measure,
     to account for other parts of the criminal justice system including the courts. While this measure
     may be skewed for a number of established reasons, it serves as an available population proxy for
     criminality proportion and is used descriptively here to create a racial benchmark that reflects
     those being officially sanctioned within the NYC correctional system as of the 2010 census.
     Whites comprise 7% of the Riker’s population, with Blacks comprising 58% and Hispanics com-
     prising 35%, which is similar to the crime suspect percentages used by the NYPD to justify stop
     and frisk disparities fifteen years ago. The Black to White crime propensity ratio is 8.79, the His-
     panic to White ratio is 5.37, and the Black to Hispanic ratio is 1.64. To create this measure, the
     ratio between the two earlier disparity percentages is taken (Black/White, Hispanic/White, and
     Black/Hispanic) and compared to the Riker’s benchmark. For example, based upon this weighted
     crime propensity measure, the Black ratio for being stopped should be 8.79 times the White ratio
     in a White-dominated neighborhood and the Hispanic ratio should be 5.37 times greater.
        Logistic regression is utilized to determine the relative difference in odds ratios (OR) of frisks,
     searches, sanctions applied, and the use of force between Blacks in White-dominated areas and
     the other combinations of suspect/neighborhood types. This approach is consistent with the
     dichotomous data reported by the NYPD, minority threat hypothesis, and the descriptive bench-
     marks created. Each model controls for the same variables in sequential modeling to isolate the
     impacts of race/neighborhood type on the four police actions.
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     Results
     As expected (see Table 2), Blacks were the racial group most stopped (n ¼ 284,229 or 53.3% of
     stops), frisked (n ¼ 163,281 or 55% of frisks), searched (n ¼ 22,683 or 51.3% of searches), sanc-
     tioned (n ¼ 29,957 or 50.1% of incidents with at least one sanction), and likely to have some level
     of force used against them during a stop (n ¼ 49,018 or 53.2% of force used incidents). The most
     stops occurred in DB neighborhoods (29%), followed by DH (23%), DW (17%), NDLW (16%), and
     NDHW (15%). While frisks were nearly even within DB and DH neighborhoods, more searches,
     sanctions, and incidents where forced was used occurred in DH neighborhoods. With the exception
     of DH neighborhoods, Blacks were the most stopped, frisked, searched, sanctioned, and forcefully
     treated group in each remaining neighborhood (DW, DB, NDHW, and NDLW), consistent with the
     Black crime threat hypothesis.
         Interesting results emerge when weighted relative population/crime propensity ratios are
     included to analyze stop, frisk, sanctioning, and use of force incidents (see Table 2). For example,
     Blacks comprise 4% of the population in DW neighborhoods yet comprise 35.7% of the stops,
     which is a ratio of 8.94, showing a clear disparity. Conversely, Blacks comprise 73% of the
     DB neighborhood population and account for 83.7% of the stops in those neighborhood for a ratio
     of 1.15. Using this approach, Blacks had ratios greater than 1 in every neighborhood type (DW ¼
     8.94, DB ¼ 1.15, DH ¼ 2.01, NDHW ¼ 3.64, and NDLW ¼ 1.94) with their ratios greatest, as
     expected by the minority threat hypothesis, in both DW and NDHW neighborhoods. By contrast,
     Whites had ratios less than 1 in every neighborhood type for every type of police action (stops,
     frisks, searches, sanctions, and use of force). Hispanics, as expected based upon their greater
     social integration across the city and the minority threat hypothesis, only had ratios greater than
     1 for all five police action measures in DW neighborhoods (all ratios > 2) and NDHW areas (all
     ratios greater than 1 but less than 1.3). These findings are consistent with Blacks and Hispanics
     being more of a threat in White-dominated or NDHW areas, and hold true across all three racial
     groups in all five neighborhood types.
         To include the criminogenic viewpoint, the previous statistic was enhanced to account for and
     weight crime differences across the three groups. While Blacks are 8.94 times more likely to be
     stopped relative to their population in White-dominated areas, Whites are only .44 likely to be
     stopped relative to their population. The ratio (8.94/.44) creates a weighted score of 20.34, which
     exceeds the criminogenic threshold. In White-dominated areas, Hispanics also exceed their pro-
     portional stop benchmark (2.06) but do not exceed their weighted crime propensity benchmark
     relative to Whites (4.06, which is lower than 5.37). When compared with Hispanics in White-
     dominated neighborhoods, Blacks exceed the weighted crime propensity (4.33, which is greater
     than 1.64) as well. These findings suggest that Blacks are seen as a greater threat in White-
     dominated areas than Whites or Hispanics, especially when accounting for their weighted criminal
     propensities, making Black stop totals even more disparate. For Blacks, these findings are consis-
     tent across all four police action categories in White-dominated (frisks ¼ 22.3, searches ¼ 21.6,
     sanctions ¼ 21.2, and force used ¼ 32.2) and NDHW neighborhoods (frisks ¼ 11.5, searches ¼
     9.2, sanctions ¼ 9, and force used ¼ 12.6). Thus, while still disparate beyond weighted crime pro-
     pensity score, the disparity lessens between White-dominate and NDHW neighborhoods and then
     decreases below expected levels in the other three neighborhood types. By contrast, Hispanics are
     below their expected weighted crime propensity in all neighborhood types and all police actions
     except for force used in White-dominated neighborhoods which is slightly elevated (6.00). These
     results all follow the NYC-specific Black threat framework: Blacks are treated differently by
     police in White-dominated and NDHW neighborhoods, beyond their population proportion and
     weighted crime propensities, while Hispanics are generally treated differently by police in regard
     to their population proportion but in lesser volume than their weighted crime propensities.
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      Table 2. Stop, Po ce Act on, and Outcome Informat on, 2012, By Race/Ne ghborhood Type, Ne ghborhood Type, and Race.

                                             Crime                            Crime                          Crime                           Crime                       Crime
                                Popu ation Propensity            Popu ation Propensity          Popu ation Propensity           Popu ation Propensity Force Popu ation Propensity
      Category         Stops      Ratio      Ratio      Frisks     Ratio      Ratio    Searches   Ratio      Ratio    Sanctions   Ratio      Ratio    Used    Ratio      Ratio

      White/DW         26,700     0.44                   0,920     0.42                 2,285     0.42                  2,890     0.4                 3,225     0.34
      B ack/DW         3 ,477     8.94       20.34       4,09      9.30      22.26      2,862     9.02      21.61       3,547     8.77      21.2      6,007      .02     32.1
      Hispanic/DW      23,6 8     2.06        4.70       0,6 4     2. 5       5. 6      2,307     2.24       5.36       2,923     2.22       5.37     3,644     2.06      6.00
      White/DB          3,344     0.32                    ,336     0.23                   206     0.54                    348     0.37                  355     0.25
      B ack/DB         23,266      . 5        3.53      69,657      . 7        5.00     8,006      . 6        2. 3       ,20       . 3       3.09     7, 80      . 7       4.64
      Hispanic/DB       5,5 0     0.70        2. 6       7,673     0.63        2.68       92      0.65         . 9       ,543     0.76       2.07      ,978     0.66       2.60
      White/DH          4,004     0.42                   2, 35     0.33                   329     0.39                    496     0.43                  698     0.28
      B ack/DH         4 ,06      2.0         4.83      28,676     2. 0        6.32     3,83      2. 4        5.48      4,828      .98       4.58      ,503     2. 8       7.76
      Hispanic/DH      68,645     0.9         2. 8      45,75      0.90        2.72     5,868     0.88        2.26      8,324     0.92       2. 3     7,500     0.89       3. 8
      White/NDHW        0,635     0.38                   5, 39     0.33                  ,047     0.39                   ,36      0.40                 ,262     0.32
      B ack/NDHW       33,82      3.64        9.54       9,77      3.85      11.54      3, 93     3.6         9.15      4,063     3.59       8.96     5,302     4.08     12.6
      Hispanic/NDHW    26,562      .23        3.2        4,820      .24       3.7       2,585      .25        3. 7      3,243      .23       3.06     3,463      . 4      3.53
      White/NDLW        2,987     0.4                     ,398     0.35                   303     0.46                    468     0.52                  445     0.37
      B ack/NDLW       45, 04      .94        4.69      25,786     2.00        5.72     4,038      .89        4.07      5,3 4      .83       3.52     7,430      .94       5. 8
      Hispanic/NDLW    24,293     0.82         .98       3,394     0.82        2.33     2, 89     0.82         .76      3, 86     0.86        .66     4,078     0.83       2.23
      DW               88,028                           37,896                          7,93                            0, 4                          3,63
      DB               47,268                           8 ,285                          9,482                           3,576                        20, 0
      DH               20,008                           80,359                          0,536                           4,336                        3 ,048
      NDHW             77,332                           42,79                           7,378                           9,42                          0,823
      NDLW             80, 59                           44,4 3                          7,252                           0,006                         3,237
      BLACK           284,229                           63,28                          22,683                         29,957                         49,0 8
      Hispanic         65, 40                           95,67                           4,432                         20,026                         3 ,77
      Other            33, 76                            6,207                          2,7 0                          3,879                          4,976
      White            50,366                           22,085                          4,423                          5,892                          6,308

      Note. B ¼ B ack; DB ¼ dominant B ack; DH ¼ dominant Hispanic; W ¼ White; DW ¼ dominant White; LL ¼ og inear; NDHW ¼ nondominant high White neighborhoods; NDLW ¼
      nondominant ow White neighborhoods; Bo dface indicates va ues that exceed the weighted crime propensity for that group re ative to the White propensity.
                                                                                                                                                                                    Case 3:21-cr-00042-JAG Document 72-4 Filed 04/22/22 Page 12 of 21 PageID# 663
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         The logistic regression models look at the same relationships—four police actions across spe-
     cific offender race within distinct neighborhood types—through a different lens. The first level of
     police action during a stop is the decision to frisk (see Table 3). This model improved on its ability
     to properly classify frisk decisions from Block 0 (56.4%) to Block 2 (63.7%), but the race/neigh-
     borhood categories contributed just 0.4% of this improvement. The Cox/Snell and Nagelkerke R2
     values increased from 8.7% and 11.7%, respectively, in Block 1 to 9.9% and 13.3%, respectively,
     meaning the race/neighborhood categories explained between 1.2% and 1.6% of the variance in
     the frisk decision. After controlling for other factors, Whites (OR ¼ .73, p < .001) and Hispanics
     (OR ¼ .95, p < .01) in DW neighborhoods were significantly less likely to be frisked than Blacks.
     In NDHW areas, Whites were also significantly less likely to be frisked (OR ¼ .90, p < .001) than
     Blacks in DW neighborhoods. However, Blacks (OR ¼ 1.5, p < .001) and Hispanics (OR ¼ 1.2,
     p < .001) were significantly more likely to be frisked in NDHW than Blacks in DW neighbor-
     hoods. Moreover, Whites in NDLW, DH, or DB neighborhoods are as likely (OR ¼ 1.0, p >
     .05) as Blacks in DW neighborhoods to be frisked. Rather than level the racial equity playing field,
     this finding shows support for the idea of ‘‘out of place’’ stops in which Whites in these areas are
     seen as suspicious as Blacks in White-dominated areas. Only 12% of Whites live in these three
     neighborhood types, but 26% of White stops occur in these neighborhoods. In contrast to Blacks
     in DW neighborhoods, non-Whites (OR ¼ 1.76, p < .001) in their own dominant neighborhoods
     (DB or DH) are significantly more likely to be frisked, as are non-Whites in NDLW neighbor-
     hoods (OR ¼ 1.46, p > .001), supporting the criminogenic perspective.
         The search model (see Table 3) adds to these findings. Whites (OR ¼ 1.2, p < .001) and
     Hispanics (OR ¼ 1.2, p < .001) in DW neighborhoods are significantly more likely than Blacks
     in the same neighborhoods to be searched, despite being significantly less likely to be frisked.
     Whites in NDHW neighborhoods were also significantly more likely than Blacks in DW neighbor-
     hoods to be searched (OR ¼ 1.21, p < .001). By contrast, Blacks in NDHW neighborhoods were
     significantly less likely (OR ¼ .93, p < .05) to be searched than Blacks in DW neighborhoods,
     while Hispanics in these areas were equally likely to be searched (OR ¼ .99, p > .05). As in the
     frisk model, Whites in NDLW, DB, or DH neighborhoods are as likely as Blacks in DW neighbor-
     hoods to be searched (OR ¼ .95, p > .05), once again raising questions as to whether this is crime
     related or contextual. Finally, non-Whites in DB or DH (OR ¼ .70, p < .001) and NDLW (OR ¼
     .83, p < .001) are significantly less likely than Blacks in DW neighborhoods to be searched during
     a stop that includes a frisk. This model was able to successfully predict 85.9% of searches, but this
     percentage was not improved by the inclusion of the control variables nor the race/neighborhood
     categories. Furthermore, the race/neighborhood categories only helped to explain between .3%
     and .7% of the decision to search (full model R2 1.9–2.6%).
         The sanction model analyzes the relative likelihood that a frisk ended in either an arrest or a sum-
     mons to place the frisk and search decisions in context of the outcomes produced (see Table 4).
     Compared to Blacks in DW neighborhoods, Whites (OR ¼ 1.23, p < .001) and Hispanics (OR ¼
     1.26, p < .001) in these neighborhoods are significantly more likely to be sanctioned, as are Whites
     (OR ¼ 1.38, p < .001) and Hispanics (OR ¼ 1.1, p < .01) in NDHW neighborhoods. Blacks in
     NDHW neighborhoods are statistically as likely to be sanctioned as those in DW neighborhoods
     (OR ¼ .98, p > .05). Consistent with previous research (Gelman et al., 2007) Whites in DB, DH,
     and NDLW neighborhoods are more likely to be sanctioned (OR ¼ 1.21, p < .01) than Blacks frisked
     in DW neighborhoods. Further, compared to Blacks in DW neighborhoods, non-Whites in DB or DH
     (OR ¼ .83, p < .001) and NDLW (OR ¼ .91, p < .01) neighborhoods are significantly less likely to
     be sanctioned during a frisk. This suggests that although Blacks in DW neighborhoods are less likely
     than Whites or Hispanics to be sanctioned, they are more likely than their non-White counterparts in
     DH, DB, or NDLW neighborhoods to face sanction during a frisk. As with the search model, the
     race/neighborhood categories explain very little of the variance in sanction decision (.2% to .4%,
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      Table 3. Log st c Regress on F na Mode Resu ts for Fr sk and Search Dec s ons.

                                                          Fr sk Dec s on (N ¼ 481,027)                                          Search Dec s on (N ¼ 271,161)

      F na mode                               b                 SE                Wa d            Exp(B)              b                 SE                Wa d            Exp(B)

      Stop outs de                             .625                  .008       6835.281         1.868***             .332                  .014        535.683          .718***
      Others present—Yes                       .103                  .008        159.025         1.108***              .036                  .014           6.459        1.037*
      Off cer n un form                      1.001                  .008      15413.131          .368***             .172                  .013        187.732          .842***
      Rad o run—Yes                           .185                  .007        612.773          .831***             .001                  .015            .009         .999
      H gh cr me area—Yes                     .052                  .006          66.582         .950***             .152                  .011        177.931          .859**
      Borough                                                                   7542.981                                                                 701.491
        Brook yn                               .614                 .009       4694.030          .541***             .322                  .016        396.288          .724*
        Queens                                 .120                 .011        124.865          .887***              .030                  .018           2.933        1.030
        Manhattan                              .651                 .011       3588.356          .522***              .004                  .019            .052        1.004
        Staten Is and                          .692                 .018       1450.656          .500***             .060                  .033           3.295         .942
      H gh r sk age                             .364                 .006       3452.109         1.439***             .224                  .011        391.496          .800***
      Race/ne ghborhood                                                         6257.397                                                                1002.327
        W/DW                                  .310               .018           292.222          .733***              .200               .033            35.783         1.222***
        H/DW                                  .055               .018              8.996         .947**               .196               .033            35.965         1.216***
        W/NDHW                                .111               .024            21.179          .895***              .187               .043            19.242         1.205***
        B/NDHW                                  .402              .017           538.760         1.495***            .075                .031              5.888         .928*
        H/NDHW                                  .188              .018           105.014         1.207***            .009                .033               .070         .991
        W/NDLW, DH, DB                        .005               .024               .044         .995               .050                .045              1.228         .951
        NW/DB, DH                               .565              .014          1676.863         1.760***            .362                .025           203.675          .696***
        NW/NDLW                                 .380              .015           660.372         1.462***            .183                .027            46.700          .833***
      Constant                                  .468              .017           753.662         1.598***            .921                .030           938.826          .398***
      FULL mode                            B ock 0           B ock 1            B ock 2                           B ock 0            B ock 1            B ock 2
      2LL                               659013.2          615072.2           608712.6                          225348.3           217492.8           216513.5
      Hosmer and Lemeshow w2                                  547.8***           663.4***                                               65.6***            31.2***
      Cox/Sne R2                                                  .087               .099                                                 .011               .014
      Nage kerke R2                                               .117               .133                                                 .019               .026
      Percentage correct                      56.4              63.3               63.7                               85.9              85.9               85.9

      Note. B ¼ B ack; DB ¼ dominant B ack; DH ¼ dominant Hispanic; W ¼ White; DW ¼ dominant White; LL ¼ og inear; NDHW ¼ nondominant high White neighborhoods; NDLW ¼
      nondominant ow White neighborhoods; Reference groups: stop inside; others present—no; officer not in uniform; radio run—no; high crime area—no; Bronx; ow risk age (0– 4, 26,
      or o der); B ack in White-dominated neighborhood (B/DW).
      ***p < .00 . **p < .0 . *p < .05.
                                                                                                                                                                                      Case 3:21-cr-00042-JAG Document 72-4 Filed 04/22/22 Page 14 of 21 PageID# 665
      Table 4. Log st c Regress on F na Mode Resu ts for Sanct on and Use of Force Outcomes.

                                                     Sanct on G ven (N ¼ 271,161)                                      Was Any Force Used (N ¼ 481,027)

      F na mode                            b                SE               Wa d            Exp(B)           b                SE               Wa d            Exp(B)

      Stop outs de                         .395              .014           808.285         .674***            .154              .010          244.928        1.167***
      Others present—Yes                    .007              .014              .257        1.007               .228              .010          546.642        1.257***
      Off cer n un form                     .384              .013           820.719        1.468***           .382              .009        1,717.637         .683***
      Rad o run—Yes                        .004              .014              .085         .996               .093              .010           88.910        1.097***
      H gh cr me area—Yes                  .193              .011           292.284         .824***           .156              .008          390.979         .855***
      Borough                                                              1,443.007                                                         11,435.198
        Brook yn                           .382              .016           567.482         .683***          1.140              .011       10,845.616         .320***
        Queens                             .007              .017              .155         .993              .390              .012        1,074.536         .677***
        Manhattan                           .232              .018           159.237        1.261***           .403              .013        1,022.918         .668***
        Staten Is and                       .120              .033            13.074        1.127***           .738              .025          882.449         .478***
      H gh r sk age                        .312              .011           775.829         .732***            .110              .008          194.266        1.116***
      Race/ne ghborhood                                                      580.579                                                          2,036.732
        W/DW                                .207             .035             35.550        1.230***          .445              .024           330.261         .641***
        H/DW                                .230             .034             46.907        1.259***          .230              .023            97.131         .794***
        W/NDHW                              .319             .044             53.323        1.376***          .522              .034           230.139         .593***
        B/NDHW                            .019              .032               .345         .982             .114              .022            26.855         .892***
        H/NDHW                              .092             .033              7.479        1.096**           .429              .025           303.876         .651***
        W/NDLW, DH, DB                      .189             .044             18.110        1.208**           .293              .032            81.596         .746***
        NW/DB, DH                         .182              .026             49.480         .834***            .085             .017            24.583        1.089***
        NW/NDLW                           .091              .027             11.337         .913**           .261              .018           200.739         .770***
      Constant                           1.313              .030          1,859.161         .269***          .813              .021         1,552.410         .443***
      Fu mode                          B ock 0           B ock 1            B ock 2                        B ock 0           B ock 1           B ock 2
      2LL                           227,971.9        218,021.9          217,459.2                       450,410.6        430,115.3         428,001.2
      Hosmer and Lemeshow w2                               60.16***          120.53***                                        886.44***         505.25***
      Cox/Sne R2                                             .019               .021                                             .032              .036
      Nage kerke R2                                          .034               .038                                             .053              .060
      Percentage Correct                   85.6            85.6               85.6                            82.5             82.5              82.5

      Note. B ¼ B ack; DB ¼ dominant B ack; DH ¼ dominant Hispanic; W ¼ White; DW ¼ dominant White; LL ¼ og inear; NDHW ¼ nondominant high White neighborhoods; NDLW ¼
      nondominant ow White neighborhoods; Reference groups: Stop inside; Others present—No; Officer not in uniform; Radio run—No; High crime area—No; Bronx; ow risk age
      (0– 4, 26, or o der); B ack in White-Dominated neighborhood (B/DW).
      ***p < .00 . **p < .0 . *p < .05.




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                                                                                                                                                                           Case 3:21-cr-00042-JAG Document 72-4 Filed 04/22/22 Page 15 of 21 PageID# 666
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     respectively) and do not improve the overall prediction ability of the model that remained at 85.6%
     from Block 0 through Block 1.
        The final model analyzes differences in the use of any type of force used during a stop. As
     expected, when compared to Blacks in DW neighborhoods, Whites (OR ¼ .64, p < .001) and His-
     panics (OR ¼ .79, p < .001) were significantly less likely to have force used on them during a
     police stop, as were Whites (OR ¼ .59, p < .001) and Hispanics (OR ¼ .65, p < .001) in NDHW
     neighborhoods (see Table 4). Blacks in NDHW areas were significantly less likely (OR ¼ .89)
     than Blacks in DW neighborhoods to have force used, but this OR exceeded the lower odds for
     similarly situated Whites and Hispanics. Whites in NDLW, DB, or DH neighborhoods (OR ¼
     .75, p < .001) were significantly less likely to have force used despite being equally likely to
     be frisked and significantly more likely to be searched and sanctioned. Non-Whites were signif-
     icantly more likely to have force used during a stop (OR ¼ 1.09, p < .001) in their own dominant
     neighborhoods than Blacks in DW neighborhoods, but were less likely to have this occur in
     NDLW areas (OR ¼ .77, p < .001). As with the sanction model, the variables added to the model
     did not improve the ability to correctly classify use of force and the race/neighborhood categories
     explain just .4–.7% of the variance in force being used during a police stop.


     Limitations
     There are several limitations to address before the results are discussed in the context of minority threat
     hypothesis. The first is the integrated methods used to geographically create neighborhoods, integrate
     census data, and combine them with the stop and frisk data in order to test the specific hypothesis. This
     analytical approach resulted in the loss of 51,854 stops from the data set (9.7% of the 532,881 recorded
     stops) but was essential to combine the stop with its social context at the neighborhood level in a man-
     ner that included census data at the block group level. Some stops were removed because they did not
     have XY coordinates to be able to map and join them accurately to a neighborhood. Other stops
     occurred in places that were not populated or assigned to a specific neighborhood (e.g., a large park).
     Others were eliminated due to the fact that the offender did not align with the three major racial or
     ethnic categories being studied. These stops were removed as part of the analytical process, and no
     single stop was chosen for elimination. Still, it is a limitation that needs to be conveyed.
         Another limitation is conceptual and operational and that is the measure of neighborhood domi-
     nance and/or the high White/low White designation. The measures used here are less conservative than
     that of Flores and Lobo (2013) who used 70% majority of one group concurrent with other groups
     comprising 10% or less of the population. As with any categorical classification, the cut points used
     can impact the results. This limitation is mitigated by the segregation of NYC’s population and future
     research can clarify or improve on these measures, which were objectively determined prior to any
     analysis being conducted. Furthermore, the collapsing of White and Black Hispanics into one category
     is a limitation but one that follows prior analyses on the same topic. It is impossible to discern what
     race the officers thought a suspect was when they decided to make the stop, and it is plausible that
     White Hispanics could be viewed as White and Black Hispanics could be viewed as Black.
         Another limitation is the availability of wider data beyond the stop and frisk data set, such as the
     inclusion of crime suspect descriptions. As such, a proxy measure for racial crime propensity was
     used here—the relative demographic composition of Riker’s Island inmates—which may be skewed
     against minorities as well. This statistic is used descriptively to create comparative racial bench-
     marks and not inferentially, mitigating this limitation. It would not have been possible to create a
     recent crime propensity measure without these data, but it is an important limitation to note. Relative
     to the control variables, there were far more available within the SQF data set than were selected in
     the current models. These were selected prior to the analysis based upon the Ridgeway (2007) study
     as well as variables that could be categorized properly.
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        The inferential methods employed also have limitations. Logistic regression modeling was
     utilized based upon the theoretical framework of Black threat in dominant and high White neigh-
     borhoods and to create OR that compare directly to the population proportion and crime propen-
     sity ratios created. This approach is taken at the expense of a wider inquiry into the main effects
     of each racial group and neighborhood type or their potential interactions that are extremely
     important but beyond the scope of the present inquiry.


     Discussion and Conclusion
     NYC provides an environment of diminishing, segregated White populations amid a minority–
     majority city with a major police policy described as racially motivated, characteristics particu-
     larly suited to a specific test of the minority threat hypothesis. Population distributions by race
     and neighborhood type revealed Whites to be very isolated from Blacks and Hispanics to be more
     integrated throughout the city, consistent with prior research and supportive of the theoretical
     framework that predicts unequal police action against Blacks and, to a lesser degree, Hispanics.
     Descriptive analyses revealed differences in stop, frisk, search, sanction, and use of force dispa-
     rities between Blacks and Hispanics consistent with prior research in general and in NYC specif-
     ically. When taking crime propensity into account, disparities across all five measures exceeded
     the benchmark for Blacks in just two types of neighborhoods—White dominated and NDHW—
     consistent with the Black crime threat hypothesis as well as the defended neighborhood hypoth-
     esis (see Eitle et al., 2002). The fact that Hispanics did not exceed their crime propensity figures
     in these two neighborhood types suggests that a more general minority threat framework is less
     applicable in NYC. Descriptively, these results reveal differential treatment of Blacks relative to
     White dominance, consistent with prior research that posits these disparities are driven more by
     race than other factors (Floyd v. New York, 2013; Gelman et al., 2007; Spitzer, 1999).
         The four logistic regression models, when integrated, provide support for the minority and
     Black threat hypotheses and to a lesser degree the ‘‘out of place,’’ defended neighborhoods and
     criminogenic perspectives. However, none of the OR, when controlling for other factors, reach the
     disparity levels found in the descriptive analyses that have driven many of the studies which have
     been critical of the racial equity of NYPD stop and frisk policy. However, even significant results
     between the reference group (Blacks in dominant White neighborhoods) and the other categories
     must be discussed with the caveat that the race/neighborhood categories explain a small portion of
     the overall variance in any of the four police actions.
         The Black threat hypothesis is more salient in NYC than a general minority threat framework.
     Blacks in dominant White neighborhoods are significantly more likely to experience some level of
     police use of force than in any other neighborhood type except those dominated by Blacks or His-
     panics in which they are more likely to experience policing using some level of force. As Bittner
     (1970) notes, this is the single greatest measure of the coercive power of police, and the more gen-
     eral minority threat framework is mitigated by the fact that Hispanics in dominant White and
     NDHW neighborhoods are less likely to have force used against them than Blacks in dominant
     White neighborhoods (though the OR are closer to 1 than for Whites). Blacks in dominant White
     neighborhoods are also more likely to be frisked than either Whites or Hispanics, but less likely to
     be searched or sanctioned, greatly minimizing the criminogenic theory as an explanation for the
     frisk and use of force differences. Blacks are handled as a threat on the lowest end (frisk) and high-
     est end (use of force) of the four police actions and seen as more of a perceived threat than His-
     panics in the same neighborhood type.
         The comparative results in NDHW neighborhoods provide some support for the defended
     neighborhood hypothesis within the context of minority threat. Compared to Blacks in dominant
     White neighborhoods, Blacks and Hispanics in these neighborhoods are more likely to be frisked
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     while Whites are less likely. Once again, Whites are more likely to be searched and sanctioned,
     suggesting the Black threat in NDHW neighborhoods is more perceived than real. Despite being
     as likely to be searched and less likely to experience use of police force, Hispanics are again more
     likely in this type neighborhood to be sanctioned than Blacks in dominant White neighborhoods.
     In the aggregate, these findings reveal disparities in police actions against Blacks depending on the
     type of neighborhood in which the stop occurs, and the evidence suggests many Black stops are not
     criminally related in White-dominated or high White neighborhoods, consistent with the Black
     threat hypothesis. Thus, Blacks are significantly more likely to be frisked and treated more force-
     fully, but less likely to be searched or sanctioned, casting doubt on purely criminogenic arguments.
     However, it must be cautioned that defended neighborhoods need to be studied more in depth from
     a longitudinal perspective, so the support found here is limited.
         These models also find support for ‘‘out of place’’ stops (Bass, 2001; Gelman et al., 2007) that
     somewhat mitigate the minority and Black threat hypotheses. The frisk model suggests that Blacks
     in dominant White neighborhoods are seen as more threatening than other groups, but Blacks and His-
     panics are more likely to be frisked in NDLW and dominant Black/Hispanic neighborhoods, suggest-
     ing that many Black stops in dominant White areas may not be related to criminal behavior or even a
     wider power struggle for dominance but simply because they are ‘‘out of place.’’ This view is sup-
     ported by the finding that Whites in NDLW and dominant Black/Hispanic neighborhoods are equally
     likely than Blacks in dominant White neighborhoods to be frisked despite their likelihood of crimin-
     ality being far less and the racial threat not being applicable: They are also ‘‘out of place.’’ Once again,
     the search model found no significant difference in Whites in non-White neighborhoods and Blacks in
     high White neighborhoods, supporting the ‘‘out of place’’ theory as an equal indicator of searches, con-
     sistent with a ‘‘race based selection of citizens for crime interdiction’’ (Gelman et al., 2007) being
     applicable to both Whites and Blacks. However, the ‘‘out of place’’ results apply to Whites relative
     to frisks and searches, but not sanctions or force. In fact, Whites in NDLW and dominant Black/His-
     panic neighborhoods were more likely to be sanctioned but treated less forcefully than Blacks in domi-
     nant White neighborhoods, at odds with the criminogenic perspective but somewhat supportive of the
     differences expected by minority threat relative to the treatment of Blacks. As opposed to the segrega-
     tion and concentration of the Black and White populations, the integration throughout the city of His-
     panics means they are less apt to be ‘‘out of place’’ in many neighborhoods.
         Less support was found for the criminogenic perspective, which is the main supporting argument
     from the NYPD. Descriptive statistics revealed that Blacks face all four police actions in dominant
     White and NDHW neighborhoods that greatly exceed their criminogenic ratios. When controlling
     for other factors, Blacks in dominant White neighborhoods were less likely to be frisked than
     non-Whites in NDLW and dominant Black/Hispanic neighborhoods, which supports the criminality
     argument in those areas. Furthermore, the only group that experienced more uses of police force than
     Blacks in White-dominated neighborhoods were non-Whites in minority-dominated neighborhoods,
     consistent with more dated research (D. A. Smith, 1986). However, non-Whites were significantly
     less likely to be searched or sanctioned in these minority-dominated neighborhoods and in NDLW
     they were less likely to experience the use of force. In essence, Black search and sanction outcomes
     in dominant White neighborhoods were significantly lower than those of Whites and Hispanics, cast-
     ing doubt on the Black criminogenic argument for which weak support was found.
         Though the findings of this study generally support the Black threat, defended neighborhood and
     out of place hypotheses more so than the criminogenic perspective, it must be noted that the findings
     are similar to Ridgeway (2007) who found that racial disparities were greatly reduced when control
     variables were introduced. The descriptive approach here found ratios for Blacks in dominant White
     and NDHW neighborhoods which greatly exceeded the criminogenic expectations. However, the
     regression models, when controlling for other factors, found no coefficients that exceeded the Riker’s
     Island crime propensity weights or the general population proportionalities. This suggests the minority
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     threat hypothesis, which is clearly more pertinent to Blacks than Hispanics in NYC, is tepidly sup-
     ported but not at exceedingly high levels based on OR and low pseudo R2 contributions in Block 2
     of both models. In the aggregate, this framework is found to be valid in the examination of police stop
     and frisks in NYC but clearly more research is needed to supplement and enhance the results presented
     here, to more fully reflect the many complexities of threat theories as they continue to emerge in the
     policing and criminal justice literature.

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     Notes
     1. An adjournment in contemplation of dismissal is a legal sanction used in lieu of formal probation or super
        vision mechanisms relative to minor crimes. Similar conceptually to pretrial diversion, the offender has
        adjudication withheld and as long as they are not arrested for new crimes within a specified time frame,
        the original charges are dismissed.
     2. The search and sanctions model uses frisks only as they are more likely to precede a search or sanction
        than a mere stop. It must be noted that the New York Police Department makes far more arrests, searches
        and sanctions each year than are represented in the Stop Question Frisk (SQF) data, so the smaller sample
        was used for specificity relative to SQF incidents. A search or sanction is seen here as more likely when a
        frisk has been performed than a stop in which no frisk occurred.

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